     Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 1 of 12
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT              November 26, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                             HOUSTON DIVISION



FRANCENE MASON,                         §
                                        §
                   Plaintiff,           §
                                        §
V.                                      §      CIVIL ACTION NO. H-18-2306
                                        §
HOME DEPOT U.S.A., INC. and             §
NIAL OZTUM,                             §
                                        §
                   Defendants.          §




                       MEMORANDUM OPINION AND ORDER



       Plaintiff Francene Mason ("Plaintiff") asserts claims against

defendants Home Depot U.S.A., Inc.          ("Home Depot") and Nial Oztum

(collectively "Defendants") for negligence and premises liability. 1

Pending before the court are Defendants Home Depot U.S.A., Inc.'s

and Nial Oztum's Motion for Summary Judgment and Brief in Support

(Docket Entry No. 35)      ("Defendants' MSJ") and Plaintiff's Response

to Defendant's Motion for Summary Judgment and Counter Motion for

Partial Summary Judgment (Docket Entry No. 38) ("Plaintiff's Cross­

MSJ").     For the reasons explained below, Defendants' MSJ will be

granted, and Plaintiff's Cross-MSJ will be denied.


      Francene Mason's Original Petition, Request for Disclosures,
       1

and Jury Demand ("Original Petition"), Exhibit B-2 to Defendant
Home Depot U.S.A., Inc.'s Notice of Removal ("Notice of Removal"),
Docket Entry No. 1-3, pp. 2, 3-4. All page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system, CM/ECF.
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 2 of 12




                        I.   Factual and Procedural Background

     The relevant facts are not disputed.                   Home Depot operates

stores that sell home improvement materials and merchandise.                       On

September     8,        2017,   Plaintiff    visited   a   Home    Depot   store   in

Sugar Land, Texas. 2            A Home Depot merchandiser, Nial Oztum, was

setting up products for display in the main aisle of the store. 3

Oztum brought the products to the main aisle                        using a large

forklift-like machine called an order picker. 4                   After parking the

order picker in the center of the aisle, he set down the products

to unbox them where they were to be displayed. 5                  He placed the box

of products next to where they were to be displayed and left a

narrow space of at most two feet between himself, his work area,

and the order picker. 6            Oztum left room on the other side of the

aisle for customers to walk around his work area and the order

picker.



     2
      0ral Deposition of Francene Mason ("Plaintiff's Deposition"),
Exhibit 2 to Plaintiff's Cross-MSJ, Docket Entry No. 38-2,
pp. 11-12.
     3
      0ral and Videotaped Deposition of Nial Oztum ("Oztum
Deposition"), Exhibit 3 to Plaintiff's Cross-MSJ, Docket Entry
No. 38-3, pp. 6, 8.
     4
         Id. at 7-8.
     5
         Id. at 8   I    14-15, 17.
     6
         Id. at 10.
     7
         Id. at 10, 30.
                                            -2-
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 3 of 12



     Unboxing required cutting clear, half-inch plastic straps from

the box. 8    Just after Oztum began cutting the straps, which fell to
the ground,      Plaintiff walked through the narrow space between
Oztum, the box, and the order picker. 9         She tripped on the plastic
straps and fell hard on her knees. 10              Plaintiff's deposition
testimony states that she saw Oztum cutting the straps from the box
before she tripped but does not recall seeing the straps on the
ground, the order picker, or exactly how much space was between her
and Oztum as she passed. 11      Plaintiff did not feel an extensive
injury to her knee that morning, but was treated for a sprained
ankle that evening. 12    Several months later she underwent arthro­
scopic surgery to address knee pain, diagnosed as runner's knee. 13
     On May 29, 2018, Plaintiff filed this action in state court

asserting claims in negligence and premises liability against
Defendants for injuries she alleges she sustained in the fall. 14

     8
         Id. at 17.
     9
      Plaintiff's Deposition, Exhibit 2 to Plaintiff's Cross-MSJ,
Docket Entry No. 38-2, p. 16; Oztum Deposition, Exhibit 3 to
Plaintiff's Cross-MSJ, Docket Entry No. 38-3, pp. 17-18.
      Plaintiff's Deposition, Exhibit 2 to Plaintiff's Cross-MSJ,
     10

Docket Entry No. 38-2, pp. 17-18; Oztum Deposition, Exhibit 3 to
Plaintiff's Cross-MSJ, Docket Entry No. 38-3, p. 18.
     11 Plaintiff's Deposition, Exhibit     2   to Plaintiff's Cross-MSJ,
Docket Entry No. 38-2, pp. 16-17, 23.
     12
          Id. at 20-21, 28-29.

     13   Id. at 37-39.

      4 0riginal Petition, Exhibit B-2 to Notice of Removal, Docket
     1

Entry No. 1-3, pp. 2, 3-4.
                                    -3-
    Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 4 of 12



Defendants timely removed the action to this court on the basis of

diversity jurisdiction. 15 Discovery has concluded. 16 On October 18,

2019,        Defendants   filed   their     motion   for   summary   judgment. 17

Plaintiff filed her response and counter-motion on November 8,

2019. 18       Defendants replied on November 15, 2019. 19


                            II.   Standard of Review

        Summary judgment is appropriate if the movant establishes that

there is no genuine dispute about any material fact and the movant

is entitled to judgment as a matter of law.            Fed. R. Civ. P. 56(a).

Disputes about material facts are genuine "if the evidence is such

that a reasonable jury could return a verdict for the nonmoving

party."         Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510

(1986).         The moving party is entitled to judgment as a matter of

law if "the nonmoving party has failed to make a sufficient showing

on an essential element of her case with respect to which she has

the burden of proof."         Celotex Corp. v. Catrett, 106 S. Ct. 2548,

2552 (1986).



        15
             Notice of Removal, Docket Entry No. 1, p. 1.
        16
             Second Amended Docket Control Order, Docket Entry No. 34,
p. 2    1     6.
        17
             Defendant's MSJ, Docket Entry No. 35.
        18
             Plaintiff's Cross-MSJ, Docket Entry No. 38.
      Defendant Home Depot U.S.A., Inc.'s Reply to Plaintiff's
        19

Response to Defendants' Motion for Summary Judgment ("Home Depot's
Reply") (Docket Entry No. 39).
                                          -4-
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 5 of 12




       A party moving for summary judgment "must 'demonstrate the

absence of a genuine issue of material fact,' but need not negate

the elements of the nonmovant' s case."      Little v. Liquid Air Corp.,

37 F.3d 1069, 1075 (5th Cir. 1994) (en bane) (per curiam) (quoting

Celotex, 106 S. Ct. at 2553).       "If the moving party fails to meet

this initial burden, the motion must be denied, regardless of the

nonmovant's response."    Id. If the moving party meets this burden,

Rule 56(c) requires the nonmovant to go beyond the pleadings and

show   by   affidavits,   depositions,    answers    to   interrogatories,

admissions on file, or other admissible evidence that specific

facts exist over which there is a genuine issue for trial.                 Id.

The nonmovant "must do more than simply show that there is some

metaphysical doubt as to the material facts."         Matsushita Electric

Industrial Co., Ltd. v. Zenith Radio Corp., 106 S. Ct. 1348, 1356

(1986)

       In reviewing the evidence "the court must draw all reasonable

inferences in favor of the nonmoving party, and it may not make

credibility determinations or weigh the evidence."               Reeves v.

Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).

The court resolves factual controversies in favor of the nonmovant,

"but only when there is an actual controversy, that is, when both

parties have submitted evidence of contradictory facts."            Little,

37 F.3d at 1075.


                                    -5-
     Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 6 of 12



                            III.     Law and Analysis

       Plaintiff asserts three theories of liability:             (1) premises

defect,        (2)   negligent     activity,   and   (3)   pure   negligence.20

Defendant argues that Plaintiff may only proceed under a premises

defect claim, and that under such a claim Defendant is entitled to

judgment as a matter of law. 21         Plaintiff argues she may proceed on

all of her claims and that she is entitled to a judgment as a

matter of law. 22


A.     Premises Liability and Negligent Activity

       A person injured on another's property may have a premises

liability claim or a negligence claim against the property owner.

Occidental Chemical Corp. v. Jenkins, 478 S.W.3d 640, 644 (Tex.

2016).       Injuries resulting from a premises defect are distinct from

injuries resulting from negligent activity, and only one theory of

recovery is available for any given set of facts.            Keetch v. Kroger

Co.,   845 S.W.2d 262,       264     (Tex. 1992)     Plaintiff alleges both

theories of recovery; because only one is allowed, the court must

decide which theory the facts support.

       "The lines between negligent activity and premises liability

are sometimes unclear, since almost every artificial condition can

be said to have been created by an activity."              Del Lago Partners,


       20
            Plaintiff's Cross-MSJ, Docket Entry No. 38, p. 2.
       21
            Home Depot's Reply, Docket Entry No. 39, p. 2.
       22
            Plaintiff's Cross-MSJ, Docket Entry No. 38, pp. 2, 9.
                                        -6-
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 7 of 12




Inc. v. Smith, 307 S.W.3d 762, 776 (Tex. 2010) (internal quotation

marks omitted)       To determine on which side of the line a claim

falls, Texas courts look to whether the activity that caused the

condition was ongoing or had ceased when the injury occurred.

Occidental Chemical Corp., 478 S.W.3d at 644; Keetch, 845 S.W.2d at

265.    For example,   if an injury resulted from a slippery floor

after    employees     had   completed    whatever     task   caused       the

slipperiness, the claim must be brought as a premises defect. See,

�, Brooks v. PRH Investments, Inc., 303 S.W.3d 920, 924-25 (Tex.

App.-Texarkana, 2010, no pet.) (holding that a mopped floor was a

premises defect because the mopping employee had finished several

minutes prior); Kroger Co. v. Persley. 261 S.W.3d 316, 320-21 (Tex.

App.-Houston [1st Dist.] 2008, no pet.) (holding that a wet floor

was a premises defect where the employee activity alleged to have

caused it had occurred at least fifteen minutes prior).              But an

injury caused directly by an employee while he is moving goods

about a store is properly brought as a negligent activity claim.

See, e.g., Sibai v. Wal-Mart Stores, Inc., 986 S.W.2d 702, 705-707

(Tex. App.-Dallas 1999,      no pet.)     (holding that facts that an

employee struck the plaintiff with his elbow while moving soft

drinks from a shopping cart supported a negligent activity claim).

       When   Plaintiff's injury    occurred,   Oztum was present and

engaging in the ongoing process of unpacking the box.             Plaintiff

tripped on the plastic straps moments after Oztum had cut them off

                                   -7-
     Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 8 of 12



a cardboard box as part of the process of unpacking the box to put
up a display.       Oztum stated that the straps on the floor were a
temporary part of his task of unpacking and he would pick them up
when he completed his task.         These facts show the alleged injury
occurred       contemporaneously   with     Oztum's    ongoing     activity    of
unpacking the box.          In these circumstances Plaintiff's claim
related to the plastic straps is one of negligent activity, not
premises defect.        See Keetch, 845 S.W.2d at 264.


B.      General Negligence and Negligent Activity

        Defendant also argues that Plaintiff cannot proceed with both
her general negligence and premises negligent-activity claims.
However,       Defendant does not provide authority to support this
argument.        Courts must separate premises claims according to

whether they are based on a premises defect or a negligent activity
because different standards apply.          See Occidental Chemical Corp.,
478 S.W.3d at 644.           There is no such distinction between a
negligent       activity   claim   and    general     negligence;    the     same

principles apply to both.          See id.    Accordingly, to decide the

motions for summary judgment the court must only consider whether
there is at least a genuine issue of fact that could establish Home
Depot     or    Oztum   acted   negligently    under     general    negligence
principles.
        Plaintiff claims that Oztum negligently caused her injury, and
that Home Depot is responsible through respondeat superior or

                                      -8-
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 9 of 12



negligently hiring and supervising Oztum.23              A plaintiff alleging

negligence must demonstrate the existence of a duty, breach of that
duty,        and damages proximately caused by that breach.              Western
Investments, Inc. v. Urena, 162 S.W.3d 547, 550 (Tex. 2005).                 The
ordinary duty of care is to use the degree of care that a

reasonably careful person would use to avoid harm to others under
the circumstances. Mitchell v. Missouri-Kansas-Texas Railroad Co.,
786 S.W.2d 659, 663 (Tex. 1990) (overruled on other grounds, Union
Pacific Railroad Co.        v. Williams,       85 S.W.3d 162    (Tex. 2002)).
Foreseeability of the harm is the                most    important   factor in

determining        the   existence   of    a     duty.       Greater     Houston
Transportation Co. v. Phillips, 801 S.W.2d 523, 526 (Tex. 1990).

Existence of a duty is a question of law, but whether the harm was
reasonably foreseeable may involve questions of fact.                  Mitchell,

786 S.W.2d at 662.
        Summary     judgment in   this case turns on whether it              was
reasonably foreseeable that a customer would walk over and trip on
the plastic straps as Oztum was in the middle of unpacking the

products.        If so, a duty was owed to take further precautions
because a person of ordinary prudence would have done so.                Whether
there were facts that gave rise to a duty are usually for the fact-
finder to decide.         Fuqua v. Taylor, 683 S.W.2d 735, 737             (Tex.



      Original Petition, Exhibit B-2 to Notice of Removal, Docket
        23
Entry No. 1-3, pp. 5-6.
                                     -9-
  Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 10 of 12



App.-Dallas 1984, writ ref'd n.r.e.).           If the relevant facts are

not disputed, however, the court may decide the issue.           Id.

     Uncontradicted deposition testimony establishes that Oztum

parked the order picker in the middle of the aisle and placed

himself and the products on one side of the aisle, leaving a narrow

space on that side but adequate room on the other side for

customers to go around. 24      Plaintiff saw Oztum and the plastic

straps before she passed through the narrow space and tripped. 25

Oztum cut the plastic straps from the box, and they fell to the

floor just before Plaintiff walked through and tripped. 26           He had

planned to immediately pick them up after finishing his task. 27

Blocking the aisle with the order picker rather than a gate was

Oztum's standard practice that he had undertaken many times in

moving products to be displayed. 28        In his experience, customers

would see the order picker and know to go around.29            Plaintiff's

evidence and account of events does not contradict these facts.


      0ztum Deposition, Exhibit 3 to Plaintiff's Cross-MSJ, Docket
     24

Entry No. 38-3, pp. 10, 30.
      Plaintiff's Deposition, Exhibit
     25
                                            2   to Plaintiff's Cross-MSJ,
Docket Entry No. 38-2, p. 16.
      Id.; Oztum Deposition, Exhibit
     26
                                            3   to Plaintiff's Cross-MSJ,
Docket Entry No. 38-3, pp. 17-18.
      0ztum Deposition, Exhibit
     27
                                    3   to Plaintiff's Cross-MSJ, Docket
Entry No. 38-3, pp. 17-18.
     28
          Id. at 9-10; 21-22.
     29
          Id. at 22.

                                  -10-
   Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 11 of 12



While she testified in her deposition that she did not remember
seeing the order picker,        neither her account nor her briefing

contend that the order picker was not there.
      The large order picker placed very close to Oztum and the
product box was a clear signal to customers that they should not
pass too close to the ongoing work.             While Oztum was aware the
plastic straps posed a tripping hazard if left in the aisle, he had
no reason to expect that a customer would walk very close to him
and trip on the straps moments after they were cut.                   It is
reasonable to expect that customers in a store will see an employee
stocking goods using machinery and avoid the work area, especially
if an alternate path is easily available.            Given the undisputed
facts, it was not reasonably foreseeable that a customer would walk
through the narrow work space just after the plastic straps fell to
the ground and before Oztum had a chance to pick them up.
     The court concludes that Oztum had no duty to take further
precautions to prevent a customer from walking through his work
area and therefore was not negligent as a matter of law.                This
conclusion forecloses all of Plaintiff's negligence claims because
Home Depot's alleged negligence was derivative of Oztum's through
respondeat   superior    and    failure    to   supervise.    Accordingly,
Defendants' MSJ will be granted.

                        IV.    Conclusion and Order

     For the reasons explained above, Defendants Home Depot U.S.A.,
Inc.'s and Nial Oztum's Motion for Summary Judgment (Docket Entry
                                    -11-
      Case 4:18-cv-02306 Document 42 Filed on 11/26/19 in TXSD Page 12 of 12



No.    35)   is GRANTED,   and Plaintiff's Counter Motion for Partial

Summary Judgment (Docket Entry No.           38)   is DENIED.

        SIGNED at Houston, Texas, on this 26th day of November, 2019.




                                         SENIOR UNITED STATES DISTRICT JUDGE




                                      -12-
